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                    DECLARATION OF CHERYL THOMAS.
                       PURSUANT TO 28 U.S.C. § 1746

       I, Cheryl Thomas hereby state that I have personal knowledge of the facts set

 forth below. If called as a witness, I could and would testify competently as

 follows:

I.   INTRODUCTION
       1.     I am a citizen of the United States and over the age of eighteen (18)

 years old. I am employed as an investigator with the Federal Trade Commission

 (“FTC”) in the Division of Privacy and Identity Protection. My office address is

 400 7th Street SW, Washington, D.C. 20024.

       2.     I have been an Investigator with the FTC since June 2010. On or about

 December 22, 2015, I was assigned to work on the Commission’s nonpublic

 investigation of MyEx.com, also doing business under the following names Post

 MyAd, T & A Media, Internet Secrets, and the Unknown Parties and individuals

 involved with these companies.

       3.     My responsibilities include researching and investigating persons and

 entities that may be violating the FTC Act and other laws enforced by the

 Commission. In the normal course of carrying out my investigative responsibilities,

 I regularly use internet search engines, electronic databases, and a variety of other

 software-based investigative and organizational tools.
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        4.     My investigation related to this matter focused on the following: (1)

  identifying those responsible for and involved in this website; (2) capturing the

  website through its URL and the Wayback Machine operated by Internet Archive;

  (3) gathering website registration data from Whois about MyEx.com; (4) requesting

  and reviewing information from other governmental agencies; (5) collecting and

  reviewing Consumer Sentinel Network complaints; (6) corresponding with the

  MyEx.com ad sales email address; (7) analyzing data obtained from third parties

  through Civil Investigative Demands (“CIDs”) issued by the Commission, including

  information about domain registrars, internet hosts, internet advertising related to

  MyEx.com, and bank accounts used by Defendants; and (8) monitoring the website.

        5.     I refer to a number of documents in this declaration. In accordance

  with the FTC’s procedures and this Court’s rules, certain information from these

  documents has been redacted in order to protect sensitive information, such as

  personally identifiable information.

II.   INVESTIGATIVE PROCEDURES

        A.     Civil Investigative Demands

        6.     Throughout the course of the investigation, the Commission issued

  CIDs to several third-party entities; I reviewed the responses from Bank of America,

  GoDaddy.com, LLC, and Traffichaus.

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III.   MYEX.COM WEBSITE

         A.     “Whois” Information

         7.     In order to determine the registrant of MyEx.com, I retrieved

   information from a publicly available database known as a “Whois” database

   located at www.domaintools.com (“domaintools.com”). Whois information is

   important because this is where the general public and law enforcement go to obtain

   contact information about a website, especially if the website is no longer active or

   if the website does not contain contact information.

         8.     The domaintools.com website permits paying members to view “Whois

   History” records, which shows the Whois record as it was captured on a previous

   date. Comparing the captures from different days can show the changes that

   occurred over time.

         9.     I reviewed the Whois History records for the domain name MyEx.com.

         10.    The report I reference herein was produced on April 23, 2018.

   Attached is a true and correct copy of the document as it appeared when I bought it,

   at Attachment A.

         11.    As of February 15, 2018, according to the report, the website

   MyEx.com was an active domain, with the name server provided by

   pananames.com. Att. A, page 3.

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      12.    The website’s title was “MyEx.com! Naked Pics of Your Ex.” Att. A,

page 3.

      13.    The meta description for the website, which is the concise summary of

a website and commonly appears underneath the blue links listed in search engine

results, is “Get the dirt before you get hurt or submit your ex gf and bf!” Att. A,

page 3.

      14.    DomainTools tracks changes to a domain’s name, IP address, name

server, and registrar.

      15.    On November 23, 2011, Shad Applegate (also known as Shad Cottelli,

see infra Paragraph 106) is listed as the registrant of MyEx.com, through registrar

GoDaddy.com. Applegate is also listed as the administrative and technical contacts,

at 6130 Flamingo Road, Las Vegas, NV 89103, and phone number 702-715-8877.

Att. A, page 759.

      16.    On January 7, 2013, the registrant is listed as Domain By Proxy, LLC,

at 14747 N. Northsight Blvd. Suite 111, PMB 309, Scottsdale, Arizona 85260. Att.

A, page 755. Domains by Proxy (DBP) is an Internet company owned by GoDaddy

that offers domain privacy services through partner domain registrars, including

GoDaddy. Proxy services conceal the registrant’s contact information to the public.

      17.    On May 14, 2013, the registrant information was changed to be

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registered through GoDaddy, by Eun Kim, Singel 540, Amsterdam, 1017 AZ,

Netherlands, +31.08941349. This person was also listed as the administrative and

technical contact, with the email address shad@myex.com. Att. A, page 753.

      18.    On May 25, 2013, the registrant information for MyEx.com changed

again, with the email address for the administrative and technical contact updated to

be eun@myex.com. Att. A, page 752.

      19.    On June 13, 2013, the registrant information was changed to Whois

Privacy, a company based in Hong Kong, with the registrar Eurodns S. A. Att. A,

page 751.

      20.    On or about May 6, 2014, the registrant information was updated to be

“kim Eun” at Apt 307, 818 E. Flamingo Road, Las Vegas, NV 89119-7320. Att. A,

pages 736.

      21.    MyEx.com was the registrar with EuroDNS S.A. from on or about

April 21, 2014 through July 6, 2014. Att. A, page 781.

      22.    There were subsequent changes made to the registrant information

between eNom.com, back to EuroDNS S.A. and then to URL Solutions, Inc. Att. A,

page 781.

      23.    On or about February 18, 2015, the registrant name changed to

“Manukyan Karine,” with the registrant organization listed as “yeicox limited” and

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the registrant street and address listed as “Quijano Chambers Road Town Tortola

VG.” Att. A, page 677. The phone number was updated to have a “tech phone” of

“+37121328067.” Att. A, page 677. This was the contact through November 25,

2015. Att. A, 511.

      24.   MyEx.com has been with the registrant organization Global Domain

Privacy Services, Inc., from November 27, 2015 through present. The organization

was stated to be located at Salduba Bldg, 53rd East Street, Marbella, Panama from

November 27, 2015 through April 25, 2017, and then updated its address to Tower

Financial Center, 35th Floor and corner of Elvira Mendez Street, Panama on April

29, 2017. Att. A, pages 7, 245, 243, 509.

      25.   MyEx.com was with registrar URL Solutions Inc. from approximately

November 26, 2015 through at least present. Att. A, page 781. URL Solutions Inc.

has a registrar server at http://www.pananames.com. Att. A, page 3.

      26.   Domain Tools captures snapshots of website homepages on regular

intervals. The report features 19 records collected between September 14, 2005 and

January 9, 2018. Att. A, page 784.

      B.    GoDaddy Document Production

      27.   GoDaddy.com, LLC (GoDaddy) is a company that offers private

domain registration.
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      28.    GoDaddy produced documents in response to a CID on or about May

12, 2016. Attachment B contains a subset of those documents, including the

certificate of authenticity of business records.

      29.    Shad Applegate acquired the domain MyEx.com in November 2011 as

Shopper 442217 with GoDaddy, associated with email address

shadapplegate@gmail.com. Att. B, page 19 (GD 000629).

      30.    Applegate signed up for GoDaddy’s Domains By Proxy (DBP) service

on January 1, 2013. The DBP customer number was 3418779. Att. B, page 18 (GD

000607).

      31.    On May 5, 2013, a consumer contacted GoDaddy concerning content

on MyEx.com and inquiring whether GoDaddy could assist in getting content at a

specific URL removed. Att. B, page 20 (GD 000701).

      32.    On May 10, 2013, Shopper 442217, identified as Shad Applegate, at

phone number 702-715-8877, cancelled the MyEx.com domain with that shopper

account, and moved the domain MyEx.com to the account for Shopper 65318215.

Att. B, page 17 (GD 000593).

      33.    Shopper 65318215 was also Shad Applegate, with billing and shipping

information as 6130 Flamingo Road, Las Vegas, NV 89103, with phone number

702-715-8877. Att. B, page 22 (GD 000789).

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      34.    On May 10, 2013, Applegate, as Shopper 65318215, purchased Private

Registration Services for MyEx.com. Att. B, page 23 (GD 000790).

      35.    On May 20, 2013, Applegate wrote to GoDaddy, saying, “I recently did

an account change for myex.com from [Shopper] 442217 to [Shopper] 65318215 &

I’m transferring it to a different registrar. Please unlock the 60 day hold & release

the domain to the new registrar.” Att. B, page 13 (GD 000074).

      36.    On May 9, 2013, GoDaddy responded that it received a “Request For

Email Update form” for MyEx.com and to process the request it required a “copy of

government issued business ID for the company listed as the current account

holder.” Att. B, page 10 (GD 000070).

      37.    On May 9, 2013, Applegate responded stating “This is not a business

&amp [sic]; there’s no business license. I need the email changed to . . .

ShadApplegate@gmail.com.” Att. B, page 11 (GD 000072).

      38.    On May 10, 2013, at 1:47 PM, in response to an email from GoDaddy

stating they must receive government-issued business identification to serve as

consent to process the requested change to the account, Applegate wrote “Because

its [sic] not a company it’s a made up name for the address &amp [sic]; phone

number in the Netherlands. The fucking domain is in my godaddy account. I own it

&amp [sic]; its has been sold &amp [sic]; I need to transfer it out. You have access

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to my godaddy account &amp [sic]; you have my phone number. I’ve already

requested all my domain by proxy accounts to be merged.” Att. B, page 12 (GD

000073).

      39.     On May 10, 2013, at 4:27 PM, Applegate wrote, “I don’t have

government paper. This is not a company. Change the god damn email.” Att. B,

page 12 (GD 000073).

      40.     On May 11, 2013, Applegate updated the billing information from the

information shadapplegate@gmail.com, 6130 Flamingo Road, Las Vegas, NV

89103, and phone number 702-715-8877, to be Eun Kim, with email address

shad@myex.com, Singel 540, Amsterdam 1017, AZ Netherlands, with phone

number +31.08941349. Att. B, page 2 (GD 000004).

      41.     On May 14, 2013, GoDaddy informed Applegate that it had been

contacted by law enforcement regarding content on the site related to reports of

child exploitation, and asked Applegate to contact a specific investigator, with a

            Police Department’s Internet Crimes Against Children Task Force,

provided his contact information and the specific URL address of the content at

issue. Att. B, page 14 (GD 000077).

      42.     On May 14, 2013, GoDaddy messaged Applegate informing him that

“the contact information provided for the domain name registration for

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MYEX.COM appears to be invalid or incomplete” when it was listed as Eun Kim,

with email address shad@myex.com, Singel 540, Amsterdam 1017, AZ

Netherlands, with phone number +31.08941349. Att. B, pages 5-8 (GD 000053-56).

      43.    On May 21, 2013, GoDaddy sent emails to note the information

associated with the account was invalid. Att. B, page 4 (GD 000007).

      44.    On June 4, 2013, Applegate tried to transfer the domain MyEx.com, but

was unable to do so because there was a 60-day lock on it after he “canceled

privacy.” Att. B, page 3 (GD 000006).

      45.    On June 4, 2013, Applegate faxed “all the documentation” and told

GoDaddy to “Transfer it & stop holding my domain hostage.” Att. B, page 9 (GD

000067).

      46.    On June 5, 2013, GoDaddy messaged Applegate, informing him that

they had been contacted by the                            Police Department

regarding underage content on the site, attaching the request in order for the content

to be removed. Because the image was of someone underage, the person in the

image could not consent to the picture being taken or shared. Att. B, page 15 (GD

000079).

      47.    On June 6, 2013, GoDaddy noted that it “Received appropriate

documentation authorizing lock removal.” Att. B, page 3 (GD 000006).

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      48.   On June 11, 2013, Applegate transferred the MyEx.com domain to the

registrar EuroDNS S.A. Att. B, page 1 (GD 000003).

      49.   In November 2015, Shopper 442217 changed the information

registered with GoDaddy so that his last name changed in their records from

“applegate” to “Cottelli.” In February 2016, Shopper 442217 changed his contact

information from shadapplegate@gmail.com to shadcottelli@gmail.com. Att. B,

page 21(GD 000737).

      50.   As of March 25, 2016, Shopper 442217 had shipping and billing

addresses of “Shad Cottelli, 6130 flamingo road Las Vegas, NV 89103 US”

alongside the email address shadapplegate@gmail.com. Att. B, pages 24, 25 (GD-

000791; GD-000795).

      C.    Screen Captures of MyEx.com

      51.   Throughout the course of this investigation, in order to view and

conduct research on the Defendants’ website, I used standard FTC undercover

computers located at my business address. The standard computers have various

evidence-capturing software tools installed on them and are separate from the FTC

computer network. These computers run the Microsoft Windows 7 Professional

operating system with the latest software and security patches. In order to capture

relevant websites, I used two software programs: i) Adobe Professional’s Web
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Capture tool, which allows users to create a copy of a website and save it as a PDF

file; and ii) Snag-it, which allows users to capture a full-page screenshot and convert

into a PDF file or grab the website’s entire scrolling area. Each PDF indicates the

date and time when I captured the website.

                 i. Screen Captures of MyEx.com via Wayback Machine

      52.     Throughout the course of the investigation, I reviewed the website

MyEx.com. In order to capture website pages that no longer existed on the version

of the website at the URL, I accessed the Wayback Machine. The Internet Archive

Wayback Machine is a digital archive of the World Wide Web. While it allows the

public to upload and download digital material to its data cluster, the bulk of its data

is collected automatically by its web crawler. Web crawlers are computer programs

that scan the web, “reading everything they find.” The crawler then turns its

findings into a giant index. The data for the website MyEx.com was removed from

this archive on or about September 7, 2017.

            a. Defendants’ Solicitation and Disclosure of Personal Information
               and Intimate Images
      53.     On January 21, 2016, I visited the Wayback Machine Archive and

accessed the MyEx.com terms of use page captured by Wayback Machine on

January 15, 2013. The page is titled “MYEX TERMS OF USE.” On this page, the

terms of use stated in part, “Welcome to the MyEx.com service and website
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provided by EMP Media, Inc.” It identified its mailing address as “MyEx.com, c/o

EMP Media, Inc. Attn. Legal Department, DMCA Complaints, 6130 W. Flamingo

Rd. #732, Las Vegas, NV 89103.” This “Terms of Use” document stated it was

effective August 21, 2012, per the date at the end of the page. Attached is a true and

correct copy of the site as it appeared when I printed it, at Attachment C.

      54.    On July 6, 2016, I visited the Wayback Machine Archive and accessed

the MyEx.com privacy policy captured by Wayback Machine on August 23, 2012.

The webpage is titled “MYEX PRIVACY POLICY” which stated in part, “EMP

Media, Inc. dba MyEx or We or Us or the Company has created this privacy

statement (this “Statement”) in order to demonstrate its commitment to customer

privacy.” Attached is a true and correct copy of the site as it appeared when I

printed it, at Attachment D.

      55.    On July 13, 2016, I visited the Wayback Machine Archive and accessed

the page on which individuals would submit information about their exes, captured

by Wayback Machine on September 30, 2012. MyEx.com’s page on which

individuals would submit information about their exes was titled “ADD YOUR

EX,” and required the following information to be submitted: first name of your ex,

last name of your ex, gender, as well as a title for the post, a narrative for the post

(called “The Dirty Details”), and required at least one tag for the post. The tag

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could be selected from the following list of check boxes: “Bad in Bed,” “Broke,”

“Cheater,” “Dead Beat Dad”, “Dead Beat Mom,” “Drug Addict,” “Ex Con,” “Gay,”

“Gold Digger,” “Good in Bed,” “Has Jungle Fever,” “Liar,” “Physically Abusive,”

“Slut,” “Sweatheart,” and “Teeni Weenie.” Attached is a true and correct copy of

the site as it appeared when I printed it, at Attachment E.

      56.    At that time, the following information—while not required—could

also be submitted: nickname, middle name, date of birth, maiden name, personal

email, present country, present state, present city, country of birth, state of birth, city

of birth, whether the person is a professional celebrity or athlete, phone number, and

the range of time the submitter dated the person. Att. E.

      57.    Also at that time, the site allowed for an unlimited number of files to be

uploaded, including photos in .jpg, .png or .gif formats; word documents as .docx,

.doc, or .pdf; video as .avi, .mp4, .flv, or .3gp; and audio files as .wav, .mp3 or

.wma. Att. E.

      58.    Also at that time, around September 30, 2012, the site listed “Social

Networking Links that connect to “ADD YOUR EX” and instructed the submitter,

“Please enter the whole URL with the http://” and included text boxes for accounts

on Facebook, Twitter, LinkedIn, and MySpace. Att. E.

      59.    On or about July 13, 2016, I visited the Wayback Machine Archive and

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accessed the page, “ADD YOUR EX,” as captured by Wayback Machine on April

16, 2013, and noted the title of the page had changed to “MAKE A POST,” and

stated, “Add Someone. Feel Good.” This page allowed the submitter to link to

Facebook or Twitter. Attached is a true and correct copy of the site as it appeared

when I printed it, at Attachment F.

      60.    On or about July 18, 2016, I visited the Wayback Machine Archive and

accessed the page, “SUBMIT YOUR EX,” as captured by the Wayback Machine on

November 13, 2015, which was the latest capture allowing a submitter to link a

submission to the Facebook and Twitter account of the individual being submitted.

Attached is a true and correct copy of this site as it appeared when I printed it, at

Attachment G.

      61.    On or about January 1, 2016, I visited the Wayback Machine Archive

and accessed the landing page, as captured by the Wayback Machine on April 30,

2013, which included intimate images of individuals that were located directly next

to personal information about the person in the images, which at various times

included: first name; last name; city; state; age; links to email and social media

accounts, including Twitter, LinkedIn, Myspace, and Facebook; categorical tags;

and the submitter’s narrative description of the individual pictured. Attached is a

true and correct copy of the site as it appeared when I printed it, as converted from a

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PNG to PDF, at Attachment H.

      62.    When a visitor to the site clicked on a specific entry, the visitor would

be brought to the MyEx.com page featuring the full entry, which was publicly

available.

      63.    On or about August 21, 2017, I visited the Wayback Machine Archive

and viewed entries that included what the site called “MyEx ID Numbers.” This

appears to have been a part of entries from at least September 26, 2012 through at

least March 13, 2013, as captured by the Wayback Machine. Attached are true and

correct copies of the sites as they appeared when I printed them, at Attachment I and

Attachment J.

      64.    On or about August 2, 2016, I visited the Wayback Machine Archive

and accessed entries that included star ratings. This appears to have been a part of

the entries starting at least as early as January 5, 2016, through to January 2018.

Attached is a true and correct copy of the site as it appeared when I printed it, at

Attachment K.

      65.    On August 9, 2017, I visited the Wayback Machine Archive and

accessed the page on which individuals could add their exes, captured by Wayback

Machine on January 16, 2013. For some period of time, around January 16, 2013,

the site also inquired “Does your EX have kids?” Attached is a true and correct

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copy of the site as it appeared when I printed it, at Attachment L.

      66.     On January 21, 2016, I visited the Wayback Machine Archive and

accessed “MYEX TERMS OF USE” captured by Wayback Machine on February 9,

2013. MyEx.com’s Terms of Use stated, “MyEx.com service and website provided

by Web Solutions B.V.” and its legal and media contact information was listed on

the Terms of Use was stated as “Websolutions Netherlands Single 540 1017 AZ

Amsterdam the Netherlands” with the phone number listed as “+31(0)20 8941

349.” Attached is a true and correct copy of the site as it appeared when I printed it,

at Attachment M.

      67.     On July 13, 2016, I visited the Wayback Machine Archive and accessed

the page where submissions could be made that was captured by Wayback Machine

on November 16, 2013. On or around November 16, 2013, the website changed the

submission page from “ADD YOUR EX” to “MAKE A POST” and titled, “Add

Someone. Feel Good.” The site stated, “[f]ace must be visible in at least one

picture. If photo is nude check the box.” Attached is a true and correct copy of the

site as it appeared when I printed it, at Attachment N.

            b. MyEx.com’s Search Function

      68.     On July 13, 2016, I visited the Wayback Machine Archive and accessed

the page where submissions could be made that was captured by Wayback Machine
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on January 6, 2014. The site had a “Find Someone You Know,” which was a search

feature for the site. Attached is a true and correct copy of the site as it appeared

when I printed it, at Attachment O.

      69.    On August 16, 2017, I visited the Wayback Machine Archive and

accessed the “Search” and Advanced Search” function, as captured by Wayback

Machine from September 8, 2012 through March 19, 2013. During that time period,

the site allowed visitors to search for images of individuals on the landing page by

gender, first name, last name. Attached is a true and correct copy of the site as it

appeared when I printed it, at Attachment P (Sept. 8, 2012). Visitors could also run

an “advanced search” by date of birth, middle name, nick name, maiden name,

present country, present state, present city, country of birth, state of birth, and city of

birth. Attached is a true and correct copy of the site as it appeared when I printed it,

at Attachment Q (March 19, 2013).

      70.    On or about August 16, 2017, I visited the Wayback Machine Archive

and accessed the “Search” and “Advanced Search” function, as captured by

Wayback Machine on March 25, 2013 through May 28, 2013. During that time

period, the site allowed for visitors to search for images of consumers on the landing

page by gender, first name, last name, and state; visitors could advance search by

date of birth, middle name, nick name, maiden name, country, and city. Attached

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are true and correct copies of the sites as they appeared when I printed them, at

Attachment R (March 25, 2013) and Attachment S (May 28, 2013).

      71.     On or about August 16, 2017, I visited the Wayback Machine Archive

and accessed the “Search” function, as captured by Wayback Machine on June 6,

2013. At that time, the site allowed for visitors to search for images of consumers

by first name, last name, and state. Attached is a true and correct copy of the site as

it appeared when I captured it, at Attachment T.

      72.     On or about August 3, 2016, I visited the Wayback Machine Archive

and accessed the “Search” function, as captured by Wayback Machine on January

14, 2016. At that time, the site allowed for visitors to search for images of

consumers by first name, last name, and location. Attached is a true and correct

copy of the site as it appeared when I printed it, at Attachment U.

            c. MyEx.com’s Policy on Removals
      73.     On or about May 8, 2017, I visited the Wayback Machine Archive and

accessed the “CONTACT US” page, as captured by Wayback Machine on August

19, 2013, “Myex.com has no removals policy. If you are an adult who has been

submitted to this site tough luck.” This page also stated, “If you have the need to

send mail please address it to MyEx.com c/o Web Solutions B.V. Attn: Legal

Department DMCA Complaints. Websolutions Netherlands, Singel 540 1017

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Amsterdam The Netherlands Attn: Legal Department.” Attached is a true and

correct copy of the site as it appeared when I printed it, at Attachment V.

      74.    On or about May 15, 2017, I visited the Wayback Machine Archive and

accessed the “Removal Policy,” captured by Wayback Machine on October 5, 2013,

which stated, “Myex.com does not permit or entertain removal requests from

individuals who have been submitted to this website. In some cases Myex.com may

adhere to the dispute resolution process from independent arbitration services. If you

feel you have been submitted to this site wrongfully you may contact one of the

independent arbitration companies below.” Attached is a true and correct copy of

the site as it appeared when I printed it, at Attachment W.

      75.    On or about May 15, 2017, I visited the Wayback Machine Archive and

accessed the “Removal Policy” as captured by Wayback Machine on December 5,

2013, which stated, “Myex.com may adhere to the dispute resolution process from

independent arbitration services. If you feel you have been submitted to this site

wrongfully you may contact one of the independent arbitration companies below

reputationguard.co.” Attached is a true and correct copy of the site as it appeared

when I printed it, at Attachment X.

      76.    On or about May 15, 2017, I visited the Wayback Machine Archive and

accessed the “Removal Policy” as captured by Wayback Machine on March 5, 2014,

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which stated, “Myex.com may adhere to the dispute resolution process from

independent arbitration services. If you feel you have been submitted to this site

wrongfully you may contact one of the arbitration companies.” Attached is a true

and correct copy of the site as it appeared when I printed it, at Attachment Y.

      77.     As of January 8, 2014, there were approximately 5,070 consumers

featured on the website, as there were ten entries per page and 507 pages of the

website. Attached is a true and correct copy of the site as it appeared when I printed

it, at Attachment Z.

      78.    On or about May 15, 2017, I visited the Wayback Machine Archive and

accessed the “Removal Policy,” as captured by Wayback Machine on June 5, 2014,

which stated, “As a general rule, if you don’t want photos of you end up on the

internet be more careful who you send them too or better yet don’t send them at all.”

Attached is a true and correct copy of the site as it appeared when I printed it, at

Attachment AA.

                ii. Screen Captures of URL MyEx.com Website

      79.    From at least August 14, 2017 through January 9, 2018, the website’s

page where submissions can be made is labeled, “SUBMIT YOUR EX,” and

underneath the title it states, “Add Your Ex: Their Basic Info.” The site has various

text boxes for the submitter to populate, including “Their Name,” “Their Country,”
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“Nickname,” “Their State/Region,” “Their Age,” “Your Post Title,” “Their

Gender,” and “Give Casey some details or tell your story;” Casey is purportedly the

name of the person who runs the MyEx.com website. Attached is a true and correct

copy of the site as it appeared when I printed it, at Attachment BB.

      80.    From at least August 14, 2017 through January 9, 2018, the entries on

MyEx.com showed the first name, last name, age, and location of the person

featured in the intimate images, next to the images. Attached is a true and correct

copy of the site as it appeared when I printed it, at Attachment CC.

      81.    At that time, the search function on the website allowed visitors to

search by first name, last name, and location. Att. CC.

      82.    Also at that time, the website allowed for a one to five star rating for

each entry and displayed the total number of votes and views. Att. CC.

      83.    Also at that time, the entries included pictures exposing genitals, pubic

area, buttocks, or female nipples or otherwise depicting sexual conduct.

      84.    From September 28, 2017 through January 9, 2018, the website search

function would sort intimate images by images and movies. Attached is a true and

correct copy of the site as it appeared when I printed it, at Attachment DD.

      85.    From September 27, 2017 through January 9, 2018, the website landing

page displayed “Recently Most Viewed Exs,” “Most Viewed Exs” and “Most Rated

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Exs.” Attached is a true and correct copy of the site as it appeared when I printed

it, at Attachment EE.

      86.    Also at that time, the website landing page displayed tabs with labels

including “Sex Tapes,” “Just Girls,” and “Just Guys.” When one clicked on these

labels, the site loads entries of just the category clicked on. Att. EE.

      87.    Also at that time, visitors to the website could leave a comment on any

entry, which is visible to other visitors. Attached is a true and correct copy of the

site as it appeared when I printed it, at Attachment FF.

      88.    On or about October 12, 2017, I submitted two entries “Testing 123

comments without enrolling or creating an account” and “Testing 1234 again

comments field without using an email address and without creating an account.”

Att. FF.

      89.    The website contains entries concerning approximately 12,680 different

individuals, as of January 9, 2018. Attached is a true and correct copy of the site as

it appeared when I printed it, at Attachment GG.

               iii. Website No Longer Hosting Content

      90.    On January 10, 2018, I visited the URL MyEx.com and the website no

longer hosted any content.

      91.    I have continued to check the URL weekly, and the content has not
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      been viewable.

            D.     Search Engine Results for MyEx.com

            92.    On or about September 11, 2017, I visited Google.com and searched

      “MyEx.com” on the search engine and captured the search results. The results from

      the search populated the site MyEx.com first, and the description for the site stated,

      “MyEx.com! Naked Pics of Your Ex Get the dirt before you get hurt or submit your

      ex gf and bf!” Attached is a true and correct copy of the search result as it appeared

      when I printed it, at Attachment HH.

IV.      EMP MEDIA, INC. CORPORATE INFORMATION
            93.    During the investigation, the FTC obtained corporate records, including

      articles of incorporation, and other documents, from the Nevada Secretary of State.

      Attached is a true and correct copy of the document as it appeared when I viewed it,

      at Attachment II, page 4.

            A.     Incorporation of EMP Media, Inc.

            94.    Defendant EMP Media, Inc. (“EMP”) was a Nevada corporation that

      had its principal place of business at 6130 Flamingo Road, Las Vegas, Nevada,

      89103. Att. II, page 4.

            95.    EMP was incorporated on August 21, 2008. Aniello Infante signed

      EMP’s articles of incorporation. Att. II, page 4.
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      96.    EMP was dissolved as a corporation on July 7, 2016. Att. II, page 22.

      97.    Aniello Infante was EMP’s president (in 2008 and from August 2015

through dissolution in July 2016); secretary (2008 through September 2012, and

August 2015 through dissolution in July 2016; treasure (2008 through April 2010,

and August 2015 through dissolution in July 2016); and director (2008 through

January 2012, and August 2015 through dissolution in July 2016); as well as the

registered agent for the corporation (2008 through October 2010, and August 2015

through dissolution). Att. II.

      98.    Defendant Shad “John” Applegate, also known as Shad Cottelli (see

infra Paragraph 106), was EMP’s president (October 2012 through March 2013);

secretary (October 2013 through March 2014, and April 2014 through July 2015);

treasurer (May 2010 through January 2014); and director (October 2012 through

March 2014). Att. II.

      B.     EMP Doing Business In Other Names

      99.    Bank of America produced documents in response to a CID on or about

May 23, 2017 and July 15, 2017.

      100. In September 2013, Shad Applegate and Jason Fisher opened a Bank of

America account in EMP Media, Inc’s name. Attachment JJ, pages 1-4 BoA-FTC-

000022 through BoA-FTC-000025 (with certificate of authenticity).
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           101. The records show EMP Media, Inc. had an account in the name EMP

     Media, Inc. “DBA INTERNET SECRETS.” Attachment KK, pages BoA-FTC-

     000026 through BoA-FTC-000029 (with certificate of authenticity).

           102. The records show EMP Media, Inc had accounts where it stated it was

     “conducting business in Clark County,” Nevada, under the fictitious name of Post

     My Ad.” Attachment LL, page BoA-FTC-000034 (with certificate of authenticity).

           103. EMP Media, Inc. also had accounts listed with Bank of America as

     doing business as T & A Media. Attachment MM, pages BoA-FTC-001093 through

     BoA-FTC-001096 (with certificate of authenticity).

V.      INDIVIDUAL DEFENDNT SHAD APPLEGATE AKA SHAD COTTELLI
           104. On or about May 16, 2017, I received a copy of drivers’ licenses on file

     from the Department of Motor Vehicles (“DMV”) in Nevada for Shad “John”

     Applegate, in response to my written request. Attached is a true and correct copy of

     the document as it appeared when it viewed it, at Attachment NN.

           105. According to Department of Nevada Motor Vehicles records, Shad

     Applegate changed his name to John Applegate on May 12, 2009. Att. NN.

           106. According to information provided by the Eighth Judicial District

     Court, Clark County, Nevada, on or about July 20, 2015, the Nevada state court

     ordered the name change from Shad Applegate to Shad Tristan Cottelli. Attached is


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      a true and correct copy of the document as it appeared when Commission staff

      received it, at Attachment OO.

            107. [intentionally left blank]

VI.      MYEX.COM ADVERTISTING

            A.     Advertising is Sold Directly by MyEx.com

            108. MyEx.com includes a link on its main page for individuals or

      businesses interested in advertising to click on, named “Advertise.” It has stated,

      “MyEX.com has limited ad space. ACT NOW!” and “[I]f you would like to

      advertise your site or product on myex.com please contact us for more information

      about site placement and prices [c]ontact us at: adsales@myex.com.” Attached is a

      true and correct copy of the site as it appeared when I printed it, at Attachment PP.

            109. On or about February 16, 2017, I created a fictitious undercover Gmail

      account. I submitted an undercover email to Adsales@gmail.com requesting

      information about advertising on MyEx.com. Attached is a true and correct copy of

      the email as it appeared when I printed it, at Attachment QQ.

            110. On or about February 22, 2017, I received a response from

      Adsales@gmail.com asking, “Hello, what spots are you interested in? banners, tabs

      or popunders? regards.” Att. QQ.

            111. On or about May 25, 2017, I responded to Adsales@gmail.com, stating

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that I was interested in banners. I inquired about how much the banners would cost

and for how long would the ad run. To date, I have not received a response.

Attached is a true and correct copy of email as it appeared when I viewed it, at

Attachment RR.

      B.       Advertising On MyEx.com Generates Revenues For Defendants

      112. Traffichaus.com (“Traffichaus”) produced documents in response to a

CID on or about June 22, 2017. Attachment SS contains documents obtained from

Traffichaus.

      113. From at least May 2015 through May 2017, Traffichaus served ads on

MyEx.com. Attached is a true and correct copy of the document as it appeared

when the company produced it and I printed it, at Att. SS at TRAF-FTC-0000006

through TRAF-FTC-0000007.

      114. Advertising by Traffichaus from May 2015 through May 2017

generated over $117,000 in profits for Defendants. Att. SS TRAF-FTC-0000006

through TRAF-FTC-0000007.

      115. Ads were served by Traffichaus on MyEx.com through at least

September 27, 2017, as shown in the URL of the attachment. Attached is a true and

correct copy of the site as it appeared when I captured it, at Attachment TT.



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VII.   CONSUMER COMPLAINTS
         116. During the course of the investigation, I reviewed approximately 132

   consumer complaints filed against the MyEx.com website in the FTC’s consumer

   complaint database, the Consumer Sentinel Network (“Sentinel”). Sentinel

   maintains complaints mailed to the Commission, entered on the Commission’s

   website (www.ftc.gov), and telephoned to the Commission (877-FTC-Help) by

   consumers. Sentinel also includes consumer complaints forwarded by or entered

   directly into the database by law enforcement authorities and consumer protection

   organizations throughout the nation and around the world. I ran searches for

   MyEx.com in the database in December 2015, which resulted in a spreadsheet of

   complaints from consumers that I then downloaded. The consumer complaints that

   I reviewed were submitted to Sentinel between April 13, 2013 and December 16,

   2015. Attached is copy of the spreadsheet of the consumer complaints, alongside

   dates of submission, and reference numbers, as they appeared when I downloaded

   them, at Attachment UU.

         A.    Consumer Complaints Related to Harm

         117. Below is a selection of consumer complaints received by the Federal

   Trade Commission that, in their own words, state the specific harms these

   consumers experienced as a result of this website posting their intimate images and

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personal information:

          a. “[Redacted name] posted nude pictures of me on the website
             myex.com with out my consent. He kept threating me and sent me the
             link of the site where he posted m,y pictures. He used to be my
             boyfriend for 5 years but we have been separated for almost a year
             now. These pictures can cause me my job and school. The website is
             asking for $499 to remove the pictures but when I informed them that I
             had contacted the police they didn’t reply back to my email. It seems
             to be a scam because they ask for you to pay the $499 in money order
             from western union for an account in the name of Sheila Mae R.
             Garcia 5021nZamora St. Lourdes Northwest, Angeles City - 2009
             Phillipines mobile number +6339991965728 when the website
             provides you with a Netherlands address. Websolutions Netherlands
             Singel 540 1017 AZ Amsterdam The Netherlands. I need help in
             taking these pictures down, it's affecting my life in every way. I’ve had
             to miss school and work and I’ve been getting sick from my nerves
             and distress. please help me” (Consumer Sentinel Reference Number:
             49046358; submitted Oct. 15, 2013).
          b. “Yesterday, November 13th, I received multiple (approx 11) friend
             requests via facebook from unknown individuals. I choose to delete
             the requests, as I did not know who they were. One particular
             individual attempted multiple times to add me, [redacted name], and I
             continues to delete the requests. She then sent me a facebook direct
             message that stated that if I don't do what she says, then she will send
             these pictures to my family and friends. She sent photos to me from a
             previous relationship I had. I was 17 years old when the photos were
             taken. My previous place of work, [redacted business], also received
             a phone call detailing the website where my photos were posted. I
             have gone to the website, my ex.com, and these photos were posted.
             [redacted URL]. The users of the website have access to my name,
             my facebook and my place of work. I am being blackmailed and am
             concerned for my safety and my future. I WAS a minor in an abusive
             relationship when these photos were taken, and I do not want them to
             tarnish my future. I have, as a result, temporarily deleted my facebook
             account.” (Consumer Sentinel Reference Number: 4970099;
             submitted Nov. 14, 2013).

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      c. “My ex-husband, [redacted name], posted a compromising picture of
         me (topless) on a revenge porn website (myex.com). The site states
         that the picture was posted on Nov. 8, 2013. I did not find out that the
         picture was up until Jan. 1, 2014. The picture now shows up in Google
         when my name is searched. I am in my last semester in school to
         become a public school teacher. I begin student teaching in a week. I
         will be teaching high school. It only takes one student to Google my
         name before the entire school finds out. My career is in jeopardy. I
         have contacted a lawyer to have the picture copyrighted. (It is clear in
         the picture that I am the one taking the photograph.) But they have
         done little to get the case under way. The image has been reported to
         Google, and Google has been contacted (I spoke with someone who is
         putting together a report- her name is [redacted name]). The image
         came down from Google at one point (last Saturday or Sunday 1/4 or
         1/5 I can’t be sure), but is now back up (1/10). I have tried to contact
         [redacted name], but with no success. I’m also worried to upset him
         as things could get worse- they will get worse, he is extremely
         vindictive and has been in trouble with the law countless times. Please
         help. I do not want my career to be ruined because of something like
         this- and I would never want to think any of my students could be
         victimized the same way. We were married for 3 1/2 years and we’ve
         been divorced now for 1 1/2 years. Please feel free to contact me
         regarding the issue. Thank you for your time and attention to this
         matter, [redacted name].” (Consumer Sentinel Reference Number:
         51682648; submitted Jan. 10, 2014).
      d. “Im not 100 percent sure if Im getting this to the right place but im
         reaching out. It may sound like something petty to you but you must
         understand that is is destroying my life and theres more to it than you
         realize. Theres a site called myex.com which allows people to post
         pictures of their ex’s, the thing is anyone can post anybody and theres
         nothing you can do other than pay a $1500 takedown fee which does
         no good because it goes to the phillipines and who knows if anything
         will be done, plus the person can repost the ad. If you search
         someones name it pops up on google search. Ill give you a perfect
         example of what it does to somebody and my story. My name is
         [redacted name] and around November I started dating a girl named
         [redacted name] who was in the process of a divorce, we didn’t get
         very serious or anything, [redacted name] has a kid from a previous
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         boyfriend before she was married, This person has mental issues (we
         found out he had camaras spy devices on her phone etc) this is all stuff
         that happens with people who have mental issues, anyhow when me
         and [redacted name] started dating (nothing serious) he got jealous
         and posted her on myex.com, then I was also posted with pictures of 2
         homosexual males and in the posting it says im on steroids, gay and
         racist, then in comment section it posts my address phone number etc
         putting me in danger. After many attempts and emails to the site
         trying different avenues they do nothing, wont take it down etc. I lost
         my contract with [redacted business name] and had to take a low
         paying [redacted business name] delivery job because if I am google
         searched as [redacted name], [redacted city] city its what comes up,
         ive always been an honest citizen and haven’t ever been in an ounce of
         trouble my whole life and ive pretty much lost my business because of
         this site. Many people have committed suicide due to this site because
         it is there to destroy lives and maybe some of the people were posted
         there for good reason but theres a lot who have not done nothing to
         deserve any of this. It sounds petty but this is a big deal, this destroys
         lives. I know it probably wont be easy to take the site down but if you
         can give me anything on what I can do? Do I have any ground to stand
         on for anything? Please help” (Consumer Sentinel Reference Number:
         53990146; submitted May 27, 2014).
      e. “My ex boyfriend put naked pictures of me on myex.com. there are a
         few pictures a video and my full name and the city where I live also on
         the internet. Also the other day someone called one of my jobs and
         told my coworkers there were naked pictures of my on the internet”
         (Consumer Sentinel Reference Number: 5631970; submitted Sept 3,
         2014).
      f. “On Thursday, December 19, 2013, I became aware that someone had
         posted negative and false comments about me and my partner on a site
         called Thedirty.com After finding this comment (posted November 24,
         2013), I followed a trail through google to a revenge pornography site
         called MyEx.com. On this site there were several pictures posted of
         me and a commentary that was almost identical to the comment on the
         other page. The photos had been copied from my facebook page, a
         professional photographer’s online portfolio (a copy written image),
         and google (these photo’s are not found with an image search
         anywhere but on the page my.com, though were once on google). The
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         site gave a link to my social media account along with my name and
         that of my partner and the state and city we reside. Only one photo was
         partially nude, the one that belonged to the photographer. It was the
         slanderous comments that were the most harming claiming I worked as
         a prostitute and “stripper,” was a drug addict, had several suicide
         attempts, hospital admissions, and arrests; as well as claiming I often
         leave my son to go party. This post was made on November 29, 2013.
         The site offers a removal fee of about 500$ USD. I immediately set out
         on a campaign to raise awareness to this sort of vitimization, rather
         than hiding it. On Tuesday, December 24, 2013, I found the page had
         been removed. Besides the attempt to defame and extort money, I
         feared for the safety of myself and my family (my partner and 9 year
         old son). I stopped sleeping, eating, and began to hide inside my house
         researching laws and contacting anyone I could think of. On December
         22, 2013, my partner and I filed a report with the local [redacted
         name of town] Police Department, who really stated that there was no
         crime committed and stated first amendment rights. We insisted he
         document the incident anyway. I have a suspicion of who made the
         anonymous post based on multiple pieces of circumstantial evidence.
         After speaking with a family friend, a retired FBI officer [redacted
         name], who then instructed me to contact you as this was something
         you would be able to investigate, (extortion, intent to defame or cause
         harm, cyber bullying) and wouldn't push me away as did the local
         PD.” (Consumer Sentinel Reference Number: 50719212; submitted
         Dec. 26, 2013).
      g. “I am interested in filing charges against and getting the website
         myex.com removed from the internet. My 16 year old is the latest
         victim of this extortion site. She had made the unfortunate mistake of
         sending her boyfriend some topless photos. With the intent that they
         were for ‘his eyes only’ since he was her ‘boyfriend’. After they broke
         up, he posted these pictures and derogatory remarks about her on the
         site, including her real name, city, person info and psychiatric
         information. She has never actual met this man (19 yr old) in real life.
         (The whole of their relationship took place via phone and email.) The
         site charges $500 to get the info removed, from it’s site and an
         additional $500 for EACH of it's sister-sites. I have filed a police
         report with my local law enforcement to press charges against the
         adult that posted my daughter info. However, this HAS to be illegal!
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         How is this not extortion! ! ! Wether you're a minor or not. I would
         like to be contacted about how I can press charges against this
         company, get this site and it’s sister sites shut down, and get some
         restitution for my 16 year old daughter, who’s reputation is now
         destroyed. There are hundreds, if not thousands of victims.”
         (Consumer Sentinel Reference Number:50843165; submitted Dec. 18,
         2013).
      h. “I am trying to have my friends photos removed from the website:
         www.myex.com It is damaging to her job and mental well-being. We
         both have sent messages to the company to take down the the post and
         photos. We are in the process of sending DMCA notices to the
         company, related companies, and web searches. If we cannot get in
         contact with the company and have her photos and information deleted
         expeditiously we will have to hire an attorney and file a lawsuit for
         invasion of privacy, intentional infliction of emotional distress, or
         copyright infringement. Every minute this is not dealt with impacts her
         job and metal well-being.” (Consumer Sentinel Reference Number:
         57768066; submitted Nov. 24, 2014).
      i. “Almost a year ago, my sister and her husband had to painfully let me
         know that they found nude pictures of myself and my husband on the
         internet. There was no other explanation as to how they were leaked
         onto the internet aside from computer hacking as my husband and I
         took these photos for each other and are in a strong, loving
         relationship. A specific set of them, which are mostly of me are now
         coming up as some of the first images in the results when you search
         my first and last name (my maiden name). They started showing up in
         search engines within the last three months. I am horrified and I have
         been suffering mental and physical aliments throughout this whole
         ordeal as I feel completely embarrassed and violated and I am very
         concerned with my career along with my husbands. I have emailed this
         site and their supposed administrator countless times and they are not
         willing to take them down. I have sent DMCA take down notices to
         this site as well and they ignore them. I need help. My husband is
         overseas on deployment and the lawyer I spoke with seems to know
         less than I do nor can I afford his services that don’t guarantee
         anything. Also, this site and others have stories that “narrate” the nude
         pictures of me that are disgusting, degrading, make me sound like an
         awful human being, and are absolutely false. The site also says the
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         state I live in, a state that I recently lived in within the last 12 months,
         my first and last name, and I am disturbed by all of these facts and
         scared as to how they got this information and what this might mean
         for me. Not to mention, the first thing that comes up when you click
         on the photo that appears in the search results is how and who to PAY
         to supposedly get the photos taken down. Doesn’t this constitute black
         mail/exploitation, copyright infringment, defamation, and invasion of
         privacy? How is this legal? Why are they ignoring my DMCA take
         down letter when all the other sites I sent them to complied without
         any hesitation. I am a student and trying to go to school as well as
         work and this is making my life very difficult. I have terrible anxiety
         now whenever I’m in public, school, work, etc. I am afraid that one of
         my classmates, teachers, co-workers may find these and get me into
         trouble or fired or who knows what else. I need someone to give me
         some answers and to get these photos taken down from this disgusting
         site and hopefully all the sites they appear on. Do I call the police? I do
         not trust what people would do if they found these. There are
         comments under the pictures that confirm that people are recognizing
         me in the photos. I am upset and I’m scared. I fear for my safety. I feel
         like a computer hacker is somehow tracking and targeting me. It’s
         really messing with my head, not to mention how worried and upset
         my husband is by this situation as he has had to listen to me deal with
         this while he is also dealing with being overseas on deployment. My
         husband and I are good people. I am studying to become a teacher and
         he is in the military. We don’t deserve this abuse. We believe we are
         the victims of computer hacking and internet abuse. Please help me.”
         (Consumer Sentinel Reference Number: 51701017; Feb. 8, 2014).
      j. “I sent private pictures to my boyfriend [redacted name] and his Ex
         girlfriend stole the picture off of his memory card and saved them. She
         has had the picture for a while. In June 2013, she paid a website called
         myex.com and posted those pictures for the public to view. If you
         search my name on google the images pop up and then like you to the
         website. This has ruined my life my friend was googling names and
         saw the images on Wednesday September 4, 2013, and she told me.
         There are very bad comment on the pictures and false statements
         made. This has humiliated me a defamed my name. This is a hate
         crime and I want justice. I did not give any form of permission for
         these pictures to be posted. I am very mentally disturbed by this and
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         need immediate assistance. I called a company called
         internetreputation.com, I paid them $1400 to start the process. This
         was done 9/7/13. I have 1400 more before 30 days. I don’t not know
         if this is a real website that help this is why I am reporting everything.”
         (Consumer Sentinel Reference Number: 48634475; Sept. 7, 2013).
      k. “In July of 2013, while performing a Google search for my name
         [redacted name] I discovered numerous nude, extremely private
         photos of myself on a website called MyEx.com. After racking my
         brain to think of who could have possibly posted those pictures, I
         realized that no one could have had access to them because they were
         on MY PERSONAL COMPUTER. I immediately submitted an e-
         mail to the contact listed on the site (legal@myex.com) advising them
         that the photos were stolen and requesting that they remove them
         ASAP. I continued to do so for 3 consecutive weeks with no response
         whatsoever. At the time, these pictures were found on page 7 of a
         google search; Now they are the first or second link that comes up! I
         have also noticed that this site (MyEx.com) has made many changes
         since July. The site’s removal policy states that they do not permit or
         entertain removal requests from individuals who have been submitted
         to the site. They go on to say “In some cases MyEx.com may adhere
         to the dispute resolution process from independent arbitration
         services” and they refer you to a link for internetreputation.com. Upon
         further investigation I spoke with a representative by the name of
         Danny. He immediately knew the website I was referring to and
         offered to remove the content for a fee of $2800. He also provided me
         with his private telephone number. Further, this atrocious website
         (MyEx.com) also lists an option to “Remove my name” for $499.00.
         They instruct you wire the money via Western Union and to e-mail
         john_myexdotcom@yahoo.com for more details. I have no way to
         verify that this is legitimate and that my pictures will be removed!
         The grief that I”m experiencing is indescribable! I have a 13-year-old
         daughter, one parent with severe dementia and another who will
         literally have a heart attack if he finds these photos! I am afraid to
         apply for a job anywhere as most places do background checks and
         this site is now directly associated with my name as it comes up
         immediately! I am under a doctor's care for depression and anxiety
         due to this nightmare. Please contact me immediately via telephone or

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         e-mail.” (Consumer Sentinel Reference Number: 48629304; Sept. 4,
         2013).
      l. “A much older man name [redacted name] convinced me to make a
         mistake and send inappropriate pictures. He then posted them to a
         website to get revenge because I wouldn’t sleep with him. He also
         took photos off of my personal website and put them alongside the
         inappropriate ones as a way of black mailing me. I have been harassed
         since this was posted. I want this site removed. My reputation has
         been tarnished, these pictures have been sent to everyone I know. It is
         humiliating. The slanderous site was linked up to my facebook, which
         causes more harassment. I had to delete it. I gave you the phone
         number for the only person who received these photos, he posted them
         to a site called myex.com I am not even his ex! Please removed this
         site, my photos or prosecute this dude somehow.” (Consumer Sentinel
         Reference Number: 49369648; Oct. 20, 2013).
      m. “Two days ago I received a Facebook message from a stranger,
         informing me that my picture and name is on this website. (I do not
         know if this person has something to do with the crime.) I found the
         website and there is no way to have the information removed. My
         email was hacked into earlier this year, but I didn't notice anything
         strange after I got back in. However, now I know that someone hacked
         into my email and found this nude picture of me taken five years ago
         (which I thought had been completely deleted). It is now all over the
         internet. I believe I can get it removed from most of the sites just by
         asking, but myex.com is the only one that has my real name. If my
         name and state is googled, the myex.com site comes up immediately.
         This picture was not posted by an “angry ex”. It was stolen. I should
         also note that when my email was hacked, so was my faceboook,
         which gave me the IP address. I did a search on this IP, and found that
         it came from the same city in which I live. I plan to contact my local
         police department so they can hopefully find who it was, but right now
         my biggest concern is getting this photo off of myex.com because it
         has my name (and other pictures they stole from my facebook
         account). I’ve learned my lesson. But that was 5 years ago, and now I
         am a mother and plan to be a business owner. If I can't get it removed,
         it is so easily found in an online search, that I know it will follow me
         and ruin my reputation for the rest of my life. Please help!”
         (Consumer Sentinel Reference Number: 49052992; Oct. 14, 2013).
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      n. “On July 8, 2013, I received a Facebook message from a made up
         Facebook profile under the name of [redacted name]. He sent a
         private picture to me of me that was only a picture I had in my phone
         and did not send to anyone. I asked him how he got the picture and he
         proceeded to just send me more that he had. Some of them I only sent
         to my boyfriend, and others I did not send to anyone at all so I do not
         know how this person got them. He also sent me messages to my
         Facebook modeling page and when I threatened him saying that it was
         federal charges to hack someone’s pictures he then posted a picture to
         my modeling page wall for everyone to see. About ten days later he
         sent me another picture, I then blocked this person and told him to
         leave me alone. On September 12, 2013, I received a text message
         from a Tuscon number trying to chat with me. This person would not
         tell me who he was, but told me that he found my pictures, name and
         phone number on an adult website (truthordarepics.com). I searched
         this website but could not find myself posted to it anywhere, and this
         person would not send me a direct link. On October 8, 2013, my
         boyfriend received a Facebook message from a made up profile user
         under the name [redacted name]. He told my boyfriend that he saw
         my private pictures on a website called myex.com. On this website it
         states that I moved to [redacted state] from [redacted state] after
         having my daughter and that I got caught cheating. That is not a true
         statement. This posting was made by someone who went by
         “anonymous”. There was nasty comments left by users of the website,
         and there was also a direct link to my Facebook profile. Because of the
         Facebook link, I have been getting harassing messages from guys who
         frequent that website and saw me. [redacted name] continued to
         message my boyfriend saying sexual things about me, and he also sent
         very explicit messages and a photo of his privates to me. At first I was
         just trying to ignore everything that’s happened since July, but it has
         gone too far now and my personal private photos are all over the
         internet for anyone to have. I feel very violated and am more aware of
         my surroundings now feeling that at any moment someone is watching
         me. At times, I feel like any of these people or specifically this one
         person could know where I live and take it a step further. I don’t feel
         safe mainly because I do not know who this person is.” (Consumer
         Sentinel Reference Number: 49375168; Oct. 23, 2013).

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       B.     Consumer Complaints Related to Take Down Fees

       118. Below is a selection of consumer complaints received by the Federal

Trade Commission that, in their own words, discuss the take down fees charged by

the site:


            a. “[Redacted name] posted nude pictures of me on the website
               myex.com with out my consent. He kept threating me and sent me the
               link of the site where he posted m,y pictures. He used to be my
               boyfriend for 5 years but we have been separated for almost a year
               now. These pictures can cause me my job and school. The website is
               asking for $499 to remove the pictures but when I informed them that I
               had contacted the police they didn't reply back to my email. It seems to
               be a scam because they ask for you to pay the $499 in money order
               from western union for an account in the name of Sheila Mae R.
               Garcia 5021nZamora St. Lourdes Northwest, Angeles City - 2009
               Phillipines mobile number +6339991965728 when the website
               provides you with a Netherlands address. Websolutions Netherlands
               Singel 540 1017 AZ Amsterdam The Netherlands. I need help in
               taking these pictures down, it's affecting my life in every way. I've had
               to miss school and work and I’ve been getting sick from my nerves
               and distress. please help me” (Sentinel Reference Number: 49046358;
               Oct. 15, 2013)
            b. “A random stranger wrote to me on Facebook saying that he found me
               here on this website [redacted URL]. I was really shocked to see
               myself on there! This info is not true and I want to remove my pics
               and info off that site but when I click on remove info it leads me to a
               page saying I need to pay money which looks like it's in Euro
               currency. If I try to contact the website it says that I need to write
               snail mail to them in Amsterdam but I also emailed them somehow
               and in that email it says they will remove my info if I give them
               $499.99 through Western Union in the Phillippines. This is all very
               confusing because there are several ways to pay and in different
               currencies and different destinations. This seems like extortioin to me
               and I believe the owners of the website www.myex.com also owns the
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         repuation guard website as well. When I checked who owns or
         registered the domain for www.myex.com it looks like it was
         registered in Vegas. This is all very confusing to me! I want to help
         take this website down!” (Sentinel Reference Number: 50353317;
         Dec. 20, 2013)
      c. “On December 3, 2013 I received an email from an unknown email
         address, [redacted email address] , regarding a website called
         www.myex.com that listed my first and last name, my age, the city
         and state of my address, a nude photo of myself, and another photo of
         just my face copied from the nude photo. The email was sent from a
         man named [redacted name] who claimed to be a victim of this
         website as well. His webpage on www.myex.com, which showed that
         he was also from [redacted city and state], was linked to the webpage
         of myself on www.myex.com. He copied and pasted the hyperlink to
         the email for me to view all of the information and photos of myself
         put on the website. The unknown user of this website created this page
         of my personal information and photos on November 28, 2013.
         According to the website, in order to remove myself from the website I
         have to pay $499.99 to ReputationGuard.co via Western Union to
         Sheila Mae Garcia. The address listed for her is 5021 Zamora St.
         Angeles City, Philippines, zip code 2009. The phone number listed for
         her is +639991965728. Once the money would be wired, I would then
         have to email ReputationGuard.co at support@reputationguard.co with
         the tracking number, my name, my city and state and country, and the
         profile name that was to be removed from www.myex.com.” (Sentinel
         Reference Number: 50378126, Dec. 04, 2013)
      d. “posted pictures of my daughter when she was a minor and posted a
         picture of a naked woman with her face photoshopped onto picture.My
         daughter has been contacted to extort 500.00 to remove the fake pic of
         her from their site. see email below. ---------- Forwarded message ----
         ------ From: ¿<support@reputationguard.co>¿ Date: Fri, Jan 3, 2014 at
         6:34 PM Subject: Re: Picture To: [redacted name] <[redacted email
         address]> <[redacted email address]> It's a 499.99 fee instructions
         are below to send via western union > My name is on the website with
         a naked picture that is not of me and pics of me are underage. How do
         I > get this off of the "myex.com" website? > -- Pay via Western
         Union WESTERN UNION INSTRUCTIONS: Amount: 499.99 USD
         Send to: Sheila Garcia 1950 Kuliat St. Lourdes Sur Angeles City,
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         Philippines Zip code 2009 Phone: +639991969841 Please email us
         after you have wired the money with the tracking number, senders
         name,city,state & Country the money was sent from. Also include the
         profile name to be removed. Please send an email to this address
         support@reputationguard.co for the detail instructions. Please allow
         up to 24 to 72 hours for your record to be deleted when using Western
         Union. Please email us after you have wired the money with the
         tracking number, senders name,city,state & Country the money was
         sent from. Also include the profile name to be removed.” (Sentinel
         Reference Number: 51679369, Jan. 04, 2014)
      e. “on January 5th i got sent text message stating there was nude
         unauthorized photos of me on www.myex.com i went to the website
         put link in and saw these photos. they linked my facebook to this site
         so i had unsolicited friend request and comments and still receiving
         messages. when asked if i wanted to remove these photos they sent me
         to a third party
         site(http://reputationguard.co/payment/?site=myex&id=11496) asking
         that i pay a western union in the sum of $499 to this address Send to:
         Sheila Garcia 1950 Kuliat St. Lourdes Sur Angeles City, Philippines
         Zip code 2009 Phone: +63999196984 when I contacted my local
         police dept they said there was nothing that could be done so went
         forth to find an attorney was in contact with [redacted name] from
         [redacted city and state] Mr. [redacted name] of [redacted city and
         state] Mr. [redacted name] in [redacted city and state] all of whom
         who said they would take on the case. Their fees are to expensive for
         my family.Mr. [redacted name] said more than likely since they are
         hiding overseas there is more than likely extoration and wire fraud
         going on and to not send money to this site. Mr. [redacted name]
         recommended I use dmca defender to help me.” (Sentinel Reference
         Number: 51681187; Jan. 09, 2014)
      f. “Someone posted pictures of my wife on myex.com December 1st
         2013. The only way to get them removed is to click the "remove my
         name" link at the top of the page which takes you to another site which
         offers to remove your name from several other web sites for $499.99
         each which is sent via western union to a woman in the Philipines. The
         site comes up as the number one result in all major search engins when
         you type in her name. It lists her full name and her home town. We
         have contacted Google, Bing, and Yahoo and they have refused to
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              filter the the site from their search results. I understand that posting of
              non copyrighted photos on the internet is not a crime in itself, but I am
              hoping that in light of the CA Attourney General's recent extortion
              case against ugotposted.com that there is some action that can be
              taken. Thank-You for your consideration.” (Sentinel Reference
              Number: 51700421; Feb. 05, 2014)
           g. “I received emails and Facebook requests from strange men who knew
              my name saying they like my naked pictures. I learned where they got
              me email address. A couple of my friends from Facebook also said a
              girl contacting them with links to them on Facebook saying they had
              naked pictures of me. A friend of the family sent me the link. The
              links had my full name, the area I am from and my email address.
              There was a paragraph on the site that said to contact me and I will
              send pictures to anyone. They harassed me. They are claiming that it is
              a pornography revenge website. These exact pictures were in my email
              account that was hacked. I had belonged to a dating site was hacked
              who had 140,000 email addresses and passwords stolen. On the
              myex.com site there is a button that says remove my pictures and a
              link to a shopping cart that charged $495.00. There is no name,
              address or any information about this company, just an internet form.
              Later, the site changed the link to a reputation removal site. When I do
              a search for my name on Bing.com my naked photo comes up in the
              web search results immediately. It's also the first result that comes up
              on Google. Please help!” (Sentinel Reference Number: 53092799;
              Apr. 07, 2014)

      C.     Observations Related to Consumer Complaints

      119. From my review of these complaints, I observe that consumers

experienced direct financial harm as a result of Defendants’ charging of fees for

removal of intimate images and personal information from the MyEx.com website.

      120. From my review of the complaints, I observe that consumers have lost

their jobs—or are concerned that they might be fired from a current job—because
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their intimate images and personal information are on MyEx.com. Consumers also

fear not being hired for a future job, as the photos are publicly available and would

appear in an employer’s online search results for a job applicant’s name on

generally available search engines.

      121. From my review of the complaints, I observe that in many instances,

consumers complained about missing work or fearing they would lose their job or

have had to quit their job.

      122. From my review of the complaints, I observe that consumers were

harmed in some instances by being harassed or threatened by stalkers and asked for

sexual favors.

      123. From my review of the complaints, I observe that in many instances,

the consumer suffered harm in the form of mental distress and anxiety whenever in

the public, or when at work or school.

      124. From my review of the complaints, I observe consumers informed

Defendants through emails that intimate images of them, along with personal

information about them was posted on the website without their consent.

      125. From my review of the complaints, I observe that in many instances,

the consumer suffered from physical ailments and a feeling of being violated.


Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the statements
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